                    UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF TENNESSEE
                             AT GREENEVILLE


 MARK A. SCOTT and PAUL E.                       )
 SCOTT                                           )
                                                 )
 v.                                              )               NO. 2:08-CV-296
                                                 )
 REGIONS BANK, ET AL.                            )

                                        ORDER

       This matter is before the Court to consider the Report and Recommendation of the

 United States Magistrate Judge, [Doc. 152], dated February 1, 2010. In that Report and

 Recommendation the magistrate judge recommends that Regions Bank’s “Motion to Dismiss

 or to Strike Cross-Claim of Defendant Andrea LaFollette” be GRANTED. [Doc. 127]. No

 objections to this report and recommendation have been filed.

       After careful consideration of the record as a whole, and after careful consideration

 of the Report and Recommendation of the United States Magistrate Judge, and for the

 reasons set out in that Report and Recommendation, which are incorporated by reference

 herein, it is hereby ORDERED that this Report and Recommendation is ADOPTED and

 APPROVED, [Doc. 152], and that Defendant Regions Bank’s motion to dismiss

 LaFollette’s cross-claim is GRANTED.

              ENTER:
                                                          s/J. RONNIE GREER
                                                     UNITED STATES DISTRICT JUDGE




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